IS 44 (Rev. LU/5}

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as

provided by local rules of court. This form, approved by the Judicial Conference of the

nited States in

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM}

eptember 1974, is requited forthe use of the Clerk of Court for the

 

I. (a) PLAINTIFFS
Christopher Williams

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

sch

(931) 645-9900

Attorneys (firm Naaw, Address, and Telephone Number}
T. Maher, The Kennedy Law Firm

127 S. Third St., Clarksville, TN 37040

DEFFNRANTS

SAMSON PELTIER, individually and in his official capacity as a Reserve Deputy of the
Montgomery County, Tennessee Sheriffs Department, KOHN FUSON, Individually and

 

in his official capacity as Sheriff of Montgs ¥ County, T:
and MONTGOMERY COUNTY, TENNESSEE,

Montgomery County of Residence of First Listed Defendant

NOTE:
THE TRACT OF LAND INVOLVED.

Attorneys (if Knewn)

 

Montgomery
(IN U.S. PLAINTLEF CASES ONLY}
IN LAND CONDEMNATION CASES, USE THE LOCATION OF

 

il. BASIS GF JURISDICTION (Place an “X” in One Box Only)

O11 US. Government

Plaintiff

G2 US. Government
Defendant

Ili. CIFLZENSHIP OF PRINCIPAL PARTIEES /Piace an “%” in One Box for Plaintiff
(For Diversity Cases Only) and One Bax for Defendant}
43 Federal Question PTF DEF PIF DEF
(US. Government Not a Party) Citizen of This State Ki incorporated or Principal Place a4 4
of Business In This State

4 Diversity Citizen of Another State [ 2 © 2 incorporated and Principal Place O75 O8

(indicate Citizenship of Parties in litem I11) of Business In Another State
Citizen or Subject of a O 3 © 3. Foreign Nation msé& 6

Foreign Country

 

 

  
 

  

OF 110 Insurance

& 120 Marine

CF 130 Miller Act

EF 146 Negotiable Instrument

CF 150 Recovery of Overpayment
& Enforcement of Judgment

151 Medicare Act

152 Recovery of Defaulted
Student Loans
(Excludes Veterans)

153 Recovery of Overpayment
of Veteran’s Benefits

160 Stockholders’ Suits

199 Gther Contact
195 Contract Product Liability
196 Franchise

   

_PROPEREY
0 210 Land Condemnation
Cf) 226 Foreciosure

f] 230 Rent Lease & Ejectment
(] 240 Torts to Land

1) 245 Tort Product Liability
1 290 All Other Real Property

  

 

    

        

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PERSONAL INJURY PERSONAL INJURY [1 625 Drug Related Seizure OF 422 Appeal 28 USC 158
CF 310 Airplane OG 365 Personal Injury - of Property 21 USC 881 10 423 Withdrawal
O 315 Airplane Product Product Liability CO) 690 Other 28 USC 157
Liability O 367 Health Care/
0) 320 Assault, Libel & Phannaceutical 22 PROP i
Slander Personal Injury CF 826 Copyrights
01 330 Federal Empleyers’ Product Liability CF 830 Patent
Liability (7 368 Asbestos Personal OF 840 Trademark
7 340 Marine Injury Preduct
C1 345 Marine Product Liability ABORT SOCTAL SECURITY. 4
Liability PERSONAL PROPERTY [0 710 Fair Labor Standards O 861 AIA (2393555
C1 350 Motor Vehicle 0 370 Other Fraud Act CF 862 Black Lung (923)
O 355 Motor Vehicle 01 371 Truth in Lending (1 720 Labor/Management 0 863 DIWC/DIWW (405(z))
Product Liability 11 380 Other Personal Relations CF 864 SSID Title XVI
O 340 Other Personal Property Damage 01 740 Railway Labor Act OF 865 RSI (405(¢))
injury 1 385 Property Damage 1 751 Family and Medical
0) 362 Personal Injury - Product Liability Leave Act

Medical Malpractice 0 790 Other Labor Litigation

 
 
  

      

     
   

OG ;101 791 Employee Retirement FEDERAL TAX SUITS
% 440 Other Civil Rights Habeas us? income Security Act O 876 Taxes (U.S. Plaintiff
0 441 Voting (1 463 Alien Detainee or Defendant}

1 442 Employment (519 Motions to Vacate 0) 871 IRS— Third Party

  

0 443 Housing/ Sentence 26 USC 7609
Accommodations (7 530 General

1] 445 Amer. w/Disabilities -10] 535 Death Penalty ES VIGRATIO
Employment Other: (1 462 Naturalization Application

O) 446 Amer. w/Disabilities -}( 540 Mandamus & Other | 465 Other Immigzation
Other (7 550 Civil Rights Actions

C1] 448 Education 01 555 Prison Condition
01 360 Civil Detainee -
Conditions of

Confinement

 

 

 

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PHETES

375 False Claims Act

376 Qui Tam (31 USC
3729(a))

400 State Reapportionment

410 Antitrust

430 Banks and Banking

450 Commerce

460 Deportation

470 Racketeer Influenced and
Corrupt Organizations

480 Consumer Credit

490 Cable/Sat TV

856 Securities/Commodities/
Exchange

890 Other Statutory Actions

891 Agricultural Acts

893 Environmental Matters

895 Freedom of Infonnation
Act

896 Arbitration

899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

950 Constitutionality of

State Statutes

 

¥. ORIGIN (Place an "XX" in One Box Only)

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Proceeding State Court Appellate Court Reopened a District Litigation
SPeEch

 

VI. CAUSE OF ACTION

Cite the U.S. Civil
42U.S.C. §19

Brief description of cause: Laie
compiaint for civil rights violations

pigiute under which you are filing (De nor cite jurisdictional statutes untess diversity):

 

 

 

 

 

 

VIL. REQUESTED IN C) CHECK IF THIS iS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.CvP. 45,000,000.00 JURY DEMAND: Mves (INo
VUE RELATEDCASE(S)
IF ANY (See instructions: Te DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
07/01/2016 /s! John T. Maher
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

Case 3:16-cv-01654

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